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10 ROWLAND MARCUS ANDRADE

11
                              UNITED STATES DISTRICT COURT
12
                          NORTHERN DISTRICT OF CALIFORNIA
13
                                     SAN FRANCISCO DIVISION
14
     UNITED STATES OF AMERICA,                         CASE NO.: 3:20-CR-00249-RS-01 (JCS)
15
                        Plaintiff,                     [PROPOSED] GRANTING
16                                                     DEFENDANT’S EX PARTE
           v.                                          APPLICATION FOR ORDER
17                                                     PERMITTING TRANSCRIPT
     ROWLAND MARCUS ANDRADE,                           PREPARATION OF
18                                                     CONFIDENTIAL HEARING
                        Defendant.
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     [PROPOSED] GRANTING DEF’S EX PARTE APP             CASE NO. 3:20-CR-00249-RS-01 (JCS)
     FOR ORDER PERMITTING TRANSCRIPT PREP
      Case 3:20-cr-00249-RS         Document 152          Filed 03/09/23    Page 2 of 2




 1                                        [PROPOSED] ORDER

 2          Upon application of counsel and good cause appearing therefore, it is hereby ordered, that

 3 court reporter Ana Dub, or any other assigned court reporter, be permitted to prepare and a

 4 transcript of the full hearing from this Court’s November 8, 2022 proceedings in this manner,

 5 including that portion of the hearing held confidentially or under seal. The transcript may be

 6 provided to attorneys for defendant Rowland Marcus Andrade who participated in the court

 7 proceedings on that date.

 8          The hearing from November 8, 2022, itself shall remain confidential as previously

 9 ordered.

10          The transcript shall be treated as a confidential document, and the transcript shall not be

11 provided to counsel for the government nor shall it be filed on the official docket in this case.

12
            Dated: March 9, 2023                           By: ____________________________
13
                                                                  HON. JOSEPH C. SPERO
14                                                                United States District Court Chief
                                                                  Magistrate Judge
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     [PROPOSED] GRANTING DEF’S EX PARTE APP                   CASE NO. 3:20-CR-00249-RS-01 (JCS)
     FOR ORDER PERMITTING TRANSCRIPT PREP
